      Case 3:25-cr-00080-CVR       Document 1-1      Filed 02/08/25    Page 1 of 13




            AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT


       Your affiant, Anthony M. Carapucci, Special Agent of the Drug Enforcement

Administration (DEA), being duly sworn, does hereby state and depose as follows:

                                 AFFIANT BACKGROUND

       1.     I am a Special Agent with the Drug Enforcement Administration, and

have been since November, 2023. I attended the DEA Basic Agent’s Training

Academy in Quantico, Virginia. During the DEA Academy I received specialized

training in various investigative techniques including electronic, stationary, and

mobile surveillance. I received formal training in the identification of various types of

controlled substances by sight and odor, the way in which controlled substances are

packaged, marketed, and consumed, and the effects of various drugs on human

physiology. I also received formal training that focused on the transportation and

distribution used by persons involved in the transportation, smuggling and

distribution of illicit drugs.

       2.     I am currently assigned to the DEA Caribbean Division, San Juan,

Puerto Rico Office. Within the DEA San Juan Office, I am assigned to the

Enforcement 1 Group (E-1), which conducts investigations of large-scale drug

trafficking and money laundering organizations, violent gangs, federal narcotics and

firearms violations, under Title 18, United States Code, and Title 21, United States Code.

       3.     Furthermore, as a Special Agent my duties and responsibilities include

conducting investigations of: alleged manufacturing, distributing or possession of
      Case 3:25-cr-00080-CVR        Document 1-1      Filed 02/08/25     Page 2 of 13




controlled substances (Title 21, United States Code, Sections 841 (a) (1)); conspiracy

to distribute a narcotic drug controlled substances into the United States (Title 21,

United States Code, Section 846); importation of controlled substances (Title 21,

United States Code, Section 952(a); Possession of a firearm with an obliterated serial

number (Title 18, United States Code, Section 992 (k) and related offenses.

       4.     Through my training and expertise of senior agents and task force

officers, I have become familiar with the modus operandi of drug traffickers, as well as

with the trafficking of illegal drugs and its proceeds of drug trafficking organizations

based in Puerto Rico. Moreover, I have spoken in depth to experienced investigators

concerning the methods and practices of drug traffickers and money launderers.

During these conversations, I was able to validate the conclusions which I have drawn

based on my own experience.

       5.     I have debriefed and interviewed persons charged with and convicted of

felony narcotics and other felony offenses. I have spoken to individuals who have been

involved in the use, sales and the illegal distribution of illicit drugs. I have learned from

those individuals the techniques commonly used by those involved in the transport

and distribution of illicit drugs. In addition, through my experience and training and

that of more senior federal, state and local drug agents, I have become familiar with

the various techniques in which controlled substances are imported, manufactured,

distributed, and sold; and the efforts of persons engaged in the importation,

manufacture, distribution and sales of controlled substances to avoid detection and

apprehension by law enforcement officers.
      Case 3:25-cr-00080-CVR      Document 1-1      Filed 02/08/25    Page 3 of 13




      6.     I have also become familiar with the methods used by individuals to hide,

convert, or otherwise conceal illicit narcotics monies or proceeds of such activities and

the efforts of persons engaged in transportation and laundering of said illicit monies to

avoid detection, apprehension, and seizure by law enforcement. Because of my

personal participation in this investigation, and because of information provided to me

by other agents and officers, and my personal observations, I am familiar with the facts

and circumstances of this investigation. My experience in investigating drug offenders,

my education, my conversations with senior drug agents and chemists, and my

specialized training formed a basis of the opinions and conclusions set forth below

which I drew from the facts set forth herein.

      7.     Your affiant is an "an investigative or law enforcement officer of the

United States" within the meaning of Title 18 United States Code of Section 2510

(7). Your affiant is, therefore, an officer of the United States who is empowered by

law to conduct investigations of, and to make arrests for, the offenses enumerated in

Title 18, United States Code Section 2516.

      8.     The details and information stated herein are a compilation of facts and

events investigated by me and other Law Enforcement Officers. I have drafted this

affidavit for the limited purpose of establishing probable cause that RANDY

PADILLA-FERNANDEZ and JOHN HUERTAS-RODRIGUEZ violated Title 18

U.S.C. §§ 922(o) – the Possession of a Machinegun and that RANDY PADILLA

FERNANDEZ and TOMAS SANCHEZ-FELICIANO violated Title 18 U.S.C. §
      Case 3:25-cr-00080-CVR        Document 1-1   Filed 02/08/25   Page 4 of 13




922(g)(1) – Possession of a Firearm by a Prohibited Person. Therefore, I have not

included all the facts of this investigation.

                               SOURCES OF INFORMATION


       9.     As previously noted, this affidavit is being submitted for the specific

purpose of securing a criminal complaint. I have not included all the facts known to

me concerning this investigation. Instead, I have presented only the facts that are

necessary to demonstrate probable cause that violations of the federal laws set forth

below have occurred.

       10.    I am familiar with the facts set forth in this affidavit from my personal

observations and inquiries, from the observations and investigations of other law

enforcement officers and/or analysts as related to me in conversation and/or through

written reports, and/or from records and/or documents and/or other evidence

obtained as a result of this and related investigations. I have also obtained such

information from records, documents and other evidence obtained in this

investigation. Unless otherwise stated herein, I believe that the information provided

to me by others is reliable. In those instances where I express an opinion or belief

regarding the facts alleged herein, that opinion or belief is based on my education and

experience as set forth previously herein, together with my knowledge of this

investigation and any other specific factors I offer in connection with a particular

assertion.

                    FACTS SUPPORTING PROBABLE CAUSE
     Case 3:25-cr-00080-CVR       Document 1-1     Filed 02/08/25    Page 5 of 13




      11.    At approximately 7:00 P.M., on February 6, 2025, agents from the Puerto

Rico Police Bureau (PRPB) metro drug unit, were conducting surveillance of a

property in order to conduct a State Search Warrant (#3488) for a property located at

(Latitude: 18.4435562, Longitude: -66.0747181) in San Juan, PR. The State Search

Warrant was granted by Municipal Judge Lorraine M. Biaggi-Trigo, to search for

controlled substances and firearms within the property.

      12.    While conducting surveillance of the property to be searched, PRPB

agents of the metro drug unit observed a blue Toyota Corolla bearing Puerto Rico

license plate (KLO 436) with three (3) people inside, parked outside of the property.

      13.    While surveilling the property and vehicle prior to the execution of the

State Search Warrant, agents watched the blue Toyota Corolla and observed the

individuals inside the vehicle moving around. Agents observed the occupants looking

around frantically, as if waiting or looking for someone. Agents stated that the

individual in the driver seat kept looking around in all directions nervously (swinging

their head across their shoulders looking left, right and the leaning or twisting of the

person’s body to allow them to see behind them) out of all windows of the vehicle.

      14.     Agents from the metro drug unit then began their approach to the

property for the execution of State Search Warrant (#3488). While moving to the

property, agents passed the blue Toyota Corolla which was parked outside, and looked

inside the vehicle through the windows for safety reasons. Agents observed an

individual, later identified as Randy PADILLA-Fernandez inside the vehicle in the

driver seat of the Toyota Corolla holding a firearm. Agents from the PRPB drug unit
      Case 3:25-cr-00080-CVR    Document 1-1    Filed 02/08/25   Page 6 of 13




immediately approached, stopped, removed and secured all the individuals that were

inside the vehicle.

      15.     Agents from the PRPB metro drug unit encountered Randy PADILLA-

Fernandez in the driver seat of the blue Toyota Corolla and found in his possession

one (1) Glock 23 4th generation .40 caliber handgun (Serial Number: TFN186)

equipped with an extended magazine and loaded with one (1) round in the chamber,

ready to fire. The Glock 23 (Serial Number: TFN186) seized from PADILLA-

Fernandez was modified with a “chip” (a machinegun conversion device) that allows

the firearm (specifically a Glock pistol) to fire fully automatic and function as a

machinegun.

      16.     Included below is a photograph of the Glock 23 (Serial Number:

TFN186) and the extended magazine, seized from PADILLA-Fernandez.
     Case 3:25-cr-00080-CVR       Document 1-1     Filed 02/08/25    Page 7 of 13




      17.    Included below is a photograph of the back plate of the Glock 23 (Serial

Number: TFN186) described above. Based on my training and experience, this back

plate is obviously different than the back plate that originally accompanies a Glock 23.

Anyone familiar with Glocks who looks at the back plate will know that this Glock 23

is modified to shoot in a fully automatic (machinegun) mode.




      18.    Agents from the PRPB metro drug unit removed from the front passenger

seat of the blue Toyota Corolla, John HUERTAS-Rodriguez. Located on the floor

board directly between the feet of HUERTAS-Rodriguez and within arm’s reach, was

one (1) Glock 23 5th generation .40 caliber handgun (Serial Number: CBLF904)

equipped with an extended magazine and loaded with one (1) round in the chamber,

ready to fire. The Glock 23 (Serial Number: CBLF904) was modified with a “chip” (a

machinegun conversion device) that allows the firearm (specifically a Glock pistol) to

fire fully automatic and function as a machinegun.
     Case 3:25-cr-00080-CVR       Document 1-1     Filed 02/08/25    Page 8 of 13




      19.    Included below is a photograph of the Glock 23 (Serial Number:

CBLF904) and the extended magazine, seized from the floor of the vehicle between

the feet of HUERTAS-Rodriguez.




      20.    Included below is a photograph of the back plate of the Glock 23 (Serial

Number: CBLF904) described above. Based on my training and experience, this back

plate is obviously different than the back plate that originally accompanies a Glock 23.

Anyone familiar with Glocks who looks at the back plate will know that this Glock 23

is modified to shoot in a fully automatic (machinegun) mode.
     Case 3:25-cr-00080-CVR      Document 1-1     Filed 02/08/25   Page 9 of 13




      21.    Additionally, seized from John HUERTAS-Rodriguez on his person was

one (1) tan with red and green strap “fanny pack” containing three (3) additional

loaded black Glock extended magazines.

      22.    Included below is a photograph of the “fanny pack” and the three (3)

additional Glock extended magazines described above. Based on my training and

experience, when people possess modified firearms or machineguns, they typically

also possess multiple extended high capacity magazines due to the extremely high rate

and volume of fire that a machinegun is capable of producing.
     Case 3:25-cr-00080-CVR      Document 1-1      Filed 02/08/25   Page 10 of 13




      23.    Agents from the PRPB metro drug unit removed from the rear seat of the

blue Toyota Corolla Tomas SANCHEZ-Feliciano. Seized from his person was one (1)

black “supreme” “fanny pack” containing two (2) loaded black Glock magazines.

      24.    Included below is a photograph of the “fanny pack” and the two (2)

Glock magazines described above. Based on my training and experience, when people

possess magazines, they typically also are in possession, have possessed or will possess

a firearm.
     Case 3:25-cr-00080-CVR    Document 1-1     Filed 02/08/25   Page 11 of 13




      25.   Additionally, included below is a photograph of all the items seized from

inside the blue Toyota Corolla bearing Puerto Rico tag (KLO436) all together, to

include two (2) firearms, seven (7) Glock black pistol magazines, four (4) cellular

phones, two (2) “fanny packs”, an undetermined amount of ammunition and an

undetermined amount of Unites States Currency (USC).
     Case 3:25-cr-00080-CVR       Document 1-1     Filed 02/08/25    Page 12 of 13




      26.    In reviewing records of criminal arrests and convictions, I know that

Randy PADILLA-Fernandez was convicted in a Puerto Rico state cased based on

Complaint number 2017-07-311-09128 in State court and was sentenced in that case

to serve three (3) years of incarceration and three (3) years of probation. Additionally,

in reviewing records or criminal arrests and convictions, I know that Tomas

SANCHEZ-Feliciano was convicted in case 15-602 (ADC) in Federal court and was

convicted of violations of Title 21, United States Code, Section 841(a) and Title 18,

United States Code 924(c) and sentenced to a total of eighty-four (84) months of

imprisonment with a term of supervised release to follow. Additionally, Tomas

SANCHEZ-Feliciano was convicted in case 18-413 (ADC) in Federal court for a

violation of Title 21, United States Code, Sections 841(a)(1), 846 and 860 and was

sentenced to a total of forty-one (41) months of imprisonment with a term of

supervised release to follow.

      27.    I know that firearms are not manufactured in Puerto Rico; thus, the

firearms seized must have travelled in interstate or foreign commerce.

                                   CONCLUSION

      Based on my training and experience, and the above-mentioned facts, I have

probable cause to believe that RANDY PADILLA-FERNANDEZ and JOHN

HUERTAS-RODRIGUEZ violated Title 18 U.S.C. §§ 922(o) – the Possession of a

Machinegun and that RANDY PADILL- FERNANDEZ and TOMAS SANCHEZ-
     Case 3:25-cr-00080-CVR      Document 1-1       Filed 02/08/25         Page 13 of 13




FELICIANO violated Title 18 U.S.C. § 922(g)(1) – Possession of a Firearm by a

Prohibited Person.

      I hereby declare, under penalty of perjury, that the foregoing is true and correct

to the best of my knowledge.
                                                                 Digitally signed by ANTHONY
                                        ANTHONY CARAPUCCI CARAPUCCI
                                        __________________________________
                                                         Date: 2025.02.08 11:05:01 -04'00'



                                        Anthony M. Carapucci
                                        Special Agent
                                        Drug Enforcement Administration

      SWORN AND SUBSCRIBED pursuant to FRCP 4.1 at 12:00 p.m. by

telephone this 8th day of February 2025, in San Juan, Puerto Rico.



                                 HON. BRUCE J. MCGIVERIN
                                 UNITED STATES MAGISTRATE JUDGE
